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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             FORT LAUDERDALE DIVISION
                                  www.flsb.uscourts.gov

In re:                                                          Chapter 11

Silver Airways LLC,                                             Case No. 24-23623-PDR

                   Debtor-in-Possession.


In re:

Seaborne Virgin Islands, Inc.,                                  Case No. 24-23624-PDR

                   Debtor-in-Possession.
                                                                Joint Administration Requested


              DEBTORS’ EX PARTE MOTION FOR JOINT ADMINISTRATION

         Silver Airways LLC (“Silver”) and Seaborne Virgin Islands, Inc. (“Seaborne”), affiliated

debtors and debtors in possession in the above captioned cases (Silver and Seaborne are each a

“Debtor” and, collectively, the “Debtors”), by and through their undersigned counsel, file this

motion (the “Motion”) pursuant to sections 101(2), 105(a), 363(b), 541, 1107(a) and 1108 of

chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), Rule 1015(b) and

6003 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Local Rules

1015-1(A), 5005-1(G)(1)(a) and 9013-1(C)(14), seeking entry of an order substantially in the

form attached hereto as Exhibit “A” authorizing the joint administration of their chapter 11

cases (the “Cases”). In support of this Motion, the Debtors rely upon the Declaration of Steve

A. Rossum in Support of the First Day Motions (the “Rossum Declaration”), which they are

filing contemporaneously with this Motion.




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                                   JURISDICTION & VENUE

       1.      This Court has jurisdiction over this Motion under 28 U.S.C. §§ 157 and 1334 and

Bankruptcy Rule 5005. This is a core proceeding pursuant to U.S.C. § 157(b)(2). Venue is proper

before the Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                         BACKGROUND

       2.      On December 30, 2024 (the “Petition Date”), each of the Debtors filed a

v oluntary petition for relief under chapter 11 of the Bankruptcy Code.

       3.      The Debtors are operating their business and managing their affairs as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       4.        For a detailed description of the Debtors and their operations, the Debtors

respectfully refer the Court and parties-in-interest to the Rossum Declaration.

                                     RELIEF REQUESTED

       5.        The Debtors seek entry of an order directing the joint administration of the

Debtors’ chapter 11 cases for procedural purposes only pursuant to sections 105(a), 363(b), 541,

1107(a) and 1108 of the Bankruptcy Code, Bankruptcy Rules 1015(b) and 6003 and Local Rules

1015-1(A), 5005-1(G)(1)(a) and 9013-1(C)(14).

       6.      The Debtors will seek to employ the law firm of Smith, Gambrell & Russell, LLP

to represent them in their respective chapter 11 cases, and the Debtors anticipate that administrative

matters in common among their respective cases will predominate over those administrative

matters, if any, concerning only one of the Debtors.

       7.      Joint administration of the Cases will reduce the costs to each individual estate, will

expedite the handling of administrative matters, and will more efficiently utilize judicial resources

of the Court. It is appropriate and necessary to treat the Cases as a single case for administrative



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purposes only to avoid duplicative proceedings and to save attorney time, court time, and the costs

relating to duplicative matters in each case.

          8.        The Debtors request that the Cases be jointly administered by the Court such that a

single docket and a single pleading filed under the name of “Silver Airways LLC, et al.” is utilized

for matters relating to the administration of their respective estates. The Debtors further request

that the Court permit all pleadings, notices, orders and other papers for either of the Debtors to be

filed with only one original and that such filed documents be entered on a single docket; provided

that the Court direct that a separate claims register for each case be maintained and that creditors

be instructed to file a proof of claim, if required, in only the case or cases in which such creditors

have claims.

          9.        The Debtors further request that all pleadings filed in the jointly administered case

bear the following case style:

                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                          www.flsb.uscourts.gov

IN RE:                                                                          Chapter 11

SILVER AIRWAYS LLC, et al.1                                                     Case No.: 24-23623-PDR
                                                                                (Jointly Administered)
      Debtors.
____________________________________/


          10.       Joint administration of the Cases shall include:

                    a)        the combining of notices to creditors and other parties in interest;




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   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
SILVER AIRWAYS LLC (6766), and SEABORNE VIRGIN ISLANDS, INC. (1130). The mailing address and principal place of
business of Silver is 2850 Greene Street, Hollywood, FL 33020. The mailing address and principal place of business of Seaborne
is 2850 Greene Street, Hollywood, FL 33020.

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                b)        the scheduling of hearings;

                c)        financial reporting by the Debtors;

                d)        the preparing by professionals of combined fee applications for both
                          Debtors; and

                e)        the joint handling of other administrative matters.

        11.     The Debtors also seek the Court’s direction that a notation substantially similar to

the following be entered on the docket of each of the Debtors to reflect the joint administration of

the Cases:

        An Order has been entered in this case directing the procedural consolidation and joint
        administration of the chapter 11 cases commenced by the Debtors in these chapter 11 cases,
        along with the last four digits of each Debtor’s federal tax identification number: SILVER
        AIRWAYS LLC (6766), and SEABORNE VIRGIN ISLANDS, INC. (1130). The docket
        in Case No. 24-23623 should be consulted for all matters affecting the above-listed cases.

        12.     The Debtors also seek authority to file monthly operating reports required by the

Operating Guidelines and Financial Reporting Requirements promulgated by the U.S. Trustee on

a consolidated basis if the Debtors determine, after consultation with the U.S. Trustee, that

consolidated reports would further administrative economy and efficiency without prejudice to

any party in interest and would accurately reflect the Debtors’ consolidated business operations

and financial affairs.

                                             ARGUMENT


        13.          Bankruptcy Rule 1015(b) provides, in relevant part, as follows: “If a joint

petition or two or more petitions are pending in the same court by or against . . . a debtor and an

affiliate, the court may order a joint administration of the estates.” Bankruptcy Rule 1015(b).

        14.     The term “affiliate” is defined in 11 U.S.C. § 101(2)(A) to include an “entity that

directly or indirectly owns, controls, or holds with power to vote, 20 percent or more of the

outstanding voting securities of the debtor . . . .” The Bankruptcy Code also defines an affiliate as

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a “corporation 20 percent or more of whose outstanding voting securities are directly or indirectly

owned, controlled, or held with power to vote, by the debtor . . . .” 11 U.S.C. § 101(2)(B). As

defined above, the term “affiliate” includes “parents and subsidiaries of a debtor, as well as certain

entities that operate or are operated by a debtor.” William Miller Collier, Alan N. Resnick, &

Henry J. Sommer, Collier on Bankruptcy ¶ 1015.03 (16th ed. 2024).

        15.     Joint administration is common when a group of companies files for bankruptcy

relief. Collier, Resnick & Sommer, supra, at ¶ 1015.03. The Bankruptcy Code provides for joint

administration in situations where “the affairs of the related debtors may be sufficiently intertwined

to make joint administration more efficient and economical than separate administration.” Id.

“Particularly in chapter 11, the success of one affiliate’s reorganization effort may depend on the

success of the other affiliates’ efforts.” Id.

        16.     Here, both Debtors meet the definition of affiliate as set forth in section 101 of the

Bankruptcy Code. Silver indirectly owns Seaborne. The relationship of the Debtors satisfies the

definition of affiliate. Furthermore, the affairs of the Debtors are sufficiently related that the joint

administration of the cases is necessary to efficiently manage these cases and to minimize the

disruption to the Debtors’ operations post-petition. The operations of the Debtors are related, and

to maintain the synergies achieved by the companies, the Debtors submit that joint administration

of the Debtors’ cases is warranted.

        17.       The rights of the respective creditors of the Debtors will not be adversely

affected by the proposed joint administration because this Motion requests only administrative,

not substantive, consolidation of the Debtors’ estates. As such, the Debtors will continue as

separate and distinct legal entities and will continue to maintain their books and records in the

ordinary course. Moreover, each creditor may still file its proof of claim against a particular



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estate. In fact, the rights of all creditors will be enhanced by the reduction in costs resulting from

joint administration. The Court will also be relieved of the burden of scheduling duplicative

hearings, entering duplicative orders, and maintaining redundant files. Finally, supervision of the

administrative aspects of these chapter 11 cases by the Office of the United States Trustee will be

simplified. Given the foregoing, joint administration of these chapter 11 cases will not give rise

to any conflict of interest among the estates in these cases and will allow for a more cost effective

and streamlined process.

                              NOTICE AND NO PRIOR REQUEST

        18.     Notice of this pleading will be served via facsimile transmission, email, or

overnight delivery to (i) the United States Trustee, (ii) those parties listed as the Debtors’ 20 largest

unsecured creditors, (iii) counsel secured lender, Brigade Agency Services LLC, c/o Frank Terzo,

Nelson Mullins, 100 S.E. 3rd Ave., Suite 2700, Fort Lauderdale, FL 33394; Lee Hart, Nelson

Mullins, 201 17th St., NE, Suite 1700, Atlanta, GA 30363; Adam Herring, Nelson Mullins, 201

17th St., NE, Suite 1700, Atlanta, GA 30363, (iv) counsel to secured lenders, Argent Funding, LLC

and Volant SVI Funding, LLC, Regina Stango Kelbon, Blank Rome LLP, 1201 N. Market Street,

Suite 800, Wilmington, DE 19801(v) the District Director of the Internal Revenue Service, (vi)

the U.S. Attorney for the Southern District of Florida, and (vii) those persons who file and serve a

notice of appearance in the Cases pursuant to Rules 2002, 3017(a), and/or 9010 of the Bankruptcy

Rules. No examiner, trustee or creditors’ committee has been appointed in this case.

        19.     Because the substantive rights of creditors and other parties in interest will not be

affected by the joint administration of the Cases, the Debtors believe that prior notice to all

creditors of the Motion is not necessary or appropriate for the expeditious and economical

administration of the estates.



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       20.     No previous request for the relief sought in this Motion has been made to this Court

or any other court.

       21.     Under Local Rule 9013-1(C)(14), the Court may grant this Motion on an ex parte

basis, without hearing, as these are non-individual chapter 11 cases.

       22.     The Office of the United States Trustee does not oppose the relief requested in this

Motion.

       WHEREFORE, the Debtors request that for ease of administration, convenience, and

economy, the Court enter an order, substantially in the form attached hereto as Exhibit “A”, on

an ex parte basis, directing the joint administration of the Debtors’ cases and provide such other

and further relief as may be just and proper.

Dated: December 31, 2024

                                                SMITH, GAMBRELL & RUSSELL, LLP

                                                By: /s/Brian P. Hall
                                                Brian P. Hall
                                                Florida Bar No.: 0070051
                                                Michael F. Holbein
                                                Florida Bar No.: 1033402
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                                                Proposed Attorneys for Debtors




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                     EXHIBIT A
                    Proposed Order




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                       UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF FLORIDA
                          FORT LAUDERDALE DIVISION
                               www.flsb.uscourts.gov

In re:                                                       Chapter 11

Silver Airways LLC,                                          Case No. 24-23623-PDR

                Debtor-in-Possession.


In re:

Seaborne Virgin Islands, Inc.,                               Case No. 24-23624-PDR

                Debtor-in-Possession.
                                                             Joint Administration Requested


                       ORDER GRANTING DEBTORS’ EX PARTE
                       MOTION FOR JOINT ADMINISTRATION

         THIS MATTER having come before the Court, without a hearing, upon the Debtors’

Ex Parte Motion for Joint Administration [ECF No. ]              (the   “Motion”)    filed   by

Silver Airways LLC (“Silver”) and Seaborne Virgin Islands, Inc. (“Seaborne”), affiliated debtors

and debtors in possession in the above captioned case (Silver and Seaborne are each a “Debtor”


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and, collectively, the “Debtors”) pursuant to Bankruptcy Rule 1015 and Local Rule 1015-

1(A)(2)(a). The Motion requests entry of an order authorizing the joint administration of the

bankruptcy cases of the Debtors. The Court finds that (i) it has jurisdiction over the matters

raised in the Motion pursuant to 28 U.S.C. §§ 157 and 1334; (ii) this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2), and that this Court may enter a final order consistent with

Article III of the United States Constitution; (iii) venue is proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; (iv) the relief requested in the Motion is in the best interests of

the Debtors, their estates, their creditors and other parties in interest; (v) pursuant to Local

Rule 9013-1(C) (14), the Court is authorized to grant the Motion without a hearing at its

discretion, as these are non-individual chapter 11 cases; (vi) notice of the Motion was

appropriate under the circumstances and no other notice need be provided; and (vii) upon a

review of the record before the Court, including the legal and factual bases set forth in the

Motion and the Rossum Declaration (as defined in the Motion) [ECF No. _], good and

sufficient cause exists for the granting of the relief as set forth herein, as the cases identified in

the caption of this order are pending in this court by a debtor and an affiliate. Accordingly, it is

        ORDERED that:

                The Motion is GRANTED.

        1.      The above-captioned bankruptcy cases are consolidated for procedural purposes

only and shall be jointly administered. The case of Silver Airways LLC, et al., Case No. 24-

23623-PDR is designated as the “lead case.”

        2.      A single case docket and court file will be maintained under the “lead case”

number.

        3.      Hearings in these jointly administered cases shall be joint hearings unless



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    otherwise specified.

               4.     The style of these jointly administered cases shall be in the style set forth below:


                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     FORT LAUDERDALE DIVISION
                                          www.flsb.uscourts.gov

IN RE:                                                                          Chapter 11

SILVER AIRWAYS LLC, et al.2                                                     Case No.: 24-23623-PDR
                                                                                (Jointly Administered)
      Debtors.
____________________________________/

          5.          Pleadings filed in other than the lead case shall be captioned under the lead case

name(s) and case number followed by the words “(Jointly Administered)” and beneath that

caption, the case names and numbers for the cases in which the document is being filed. Claims

filed shall indicate only the case name and number of the case in which the claim is asserted.

Separate claims registers shall be maintained for each case. Ballots shall be styled and filed only

in the case name and number of the member case for which the plan being voted on was filed.

Schedules and the statement of financial affairs shall be styled and filed in the case name and

number of the member case.

          6.          Parties may request joint hearings on matters pending in either of the jointly

administered cases.

          7.          A docket entry shall be made in each of the Debtors’ cases substantially as

follows:

               An Order has been entered in this case directing the procedural consolidation and joint

2
   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are:
SILVER AIRWAYS LLC (6766), and SEABORNE VIRGIN ISLANDS, INC. (1130). The mailing address and principal place of
business of Silver is 2850 Greene Street, Hollywood, FL 33020. The mailing address and principal place of business of Seaborne
is 2850 Greene Street, Hollywood, FL 33020.

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            administration of the chapter 11 cases commenced by the Debtors in these chapter 11
            cases, along with the last four digits of each Debtor’s federal tax identification number:
            SILVER AIRWAYS LLC (6766), and SEABORNE VIRGIN ISLANDS, INC. (1130).
            The docket in Case No. 24-23623-PDR should be consulted for all matters affecting the
            above-listed cases.

       8.        The Debtors shall maintain, and the Clerk of the United States Bankruptcy Court

for the Southern District of Florida shall keep, one consolidated docket, one file, and one

consolidated service list for these chapter 11 cases.

       9.          Nothing contained in the Motion or this Order shall be deemed or construed as

directing or otherwise effecting a substantive consolidation of these chapter 11 cases and this

Order shall be without prejudice to the rights of the Debtors to seek entry of an order substantively

consolidating their respective cases.

       10.         The Debtors in Possession shall not commingle assets or liabilities unless and

until it is determined, after notice and hearing, that these cases involve the same debtor or that

another ground exists to order substantive consolidation of these cases.

       11.         The Debtors are authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       12.         The Court retains jurisdiction with respect to all matters arising from or related

to the implementation or interpretation of this Order.

                                                 #        #   #




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Submitted by:

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Proposed Attorneys for Debtors

 (Mr. Hall is directed to serve this order upon all non-registered users who have yet to
 appear electronically in this case and file a conforming certificate of service.)




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